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 7   Attorney for Plaintiff

 8
                     IN THE UNITED STATES DISTRICT COURT
 9
                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10

11
         DIGITAL VERIFICATION SYSTEMS,
12       LLC
                                                         Case No. '23CV1529 H       AHG
13                Plaintiff,
14                                                       Jury Trial Demanded
                   v.
15

16       GOFORMZ, INC.,
17              Defendants.

18
             ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT
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20          Plaintiff Digital Verification Systems, LLC (“Plaintiff” and/or “DVS”)
21   files this complaint against goformz, Inc. (“Defendant”), for infringement of
22   U.S. Patent No. 9,054,860 (hereinafter “the “’860 Patent”)1 and alleges as
23   follows:
24                                     PARTIES
25          1.    Plaintiff is a Texas limited liability company with an address of 1
26   East Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
27
     1
        The ’860 patent expires no earlier than April 7, 2034. The DVS patent family also
28   includes U.S. Patent Nos. 9,917,834 and 10,498,732.
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          2.   Defendant has its United States primary place of business located at 501
     W Broadway, Suite 1520, San Diego, CA 92101.
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 1   Figure 1 – Google search excerpt for goformz as visited last on August 14,
 2   2023.
 3                            JURISDICTION AND VENUE
 4            3.    This action arises under the patent laws of the United States, 35
 5   U.S.C. § 271 et seq. Plaintiff is seeking damages, as well as attorney fees and
 6   costs.
 7            4.    Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331
 8   (Federal Question) and 1338(a) (Patents).
 9            5.    On information and belief, this Court has personal jurisdiction over
10   Defendant because Defendant has committed, and continues to commit, acts of
11   infringement in this District, has conducted business in this District, and/or has
12   engaged in continuous and systematic activities in this District.
13            6.    Upon information and belief, Defendant’s instrumentalities that are
14   alleged herein to infringe were and continue to be used, imported, offered for
15   sale, and/or sold in this District.
16            7.    Venue is proper in this District under 28 U.S.C. §1400(b) because
17   Defendant is deemed to be a resident in this District. Alternatively, acts of
18   infringement are occurring in this District and Defendant has a regular and
19   established place of business in this District.
20                                   PATENT-IN-SUIT
21            8.    On June 9, 2015, the United States Patent and Trademark Office
22   (“USPTO”) duly and legally issued the ’860 Patent, entitled “Digital Verified
23   Identification System and Method.” The ’860 Patent is attached as Exhibit A.
24            9.    Plaintiff is the sole and exclusive owner, by assignment, of the
25   ’860 Patent.
26            10.   Plaintiff possesses all rights of recovery under the ’860 Patent,
27   including the exclusive right to recover for past, present and future
28   infringement.
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 1         11.       The inventor of the ’860 Patent, Mr. Leigh M. Rothschild, was
 2   Chairman and Chief Executive Officer of IntraCorp Entertainment, Inc., a
 3   consumer software company with worldwide product distribution. From
 4   October 1998 through February 2004, Mr. Rothschild was also Chairman and
 5   founder of BarPoint.com, a NASDAQ publicly traded wireless company that
 6   was the leader and early creator of connecting symbology, such as barcodes, to
 7   the Internet.
 8         12.       Mr. Rothschild is a former presidential appointee to the High-
 9   Resolution Board for the United States under former President George H.W.
10   Bush, and has also served as an advisor for former President Ronald Reagan.
11   Mr. Rothschild served Governors on technology boards, served as a special
12   advisor to then Florida Secretary of Commerce John Ellis “Jeb” Bush, and
13   served on the IT Florida Technology Board as an appointee of former Governor
14   John Ellis “Jeb” Bush.
15         13.       Mr. Rothschild chairs the Rothschild Family Foundation, which
16   endows outstanding charities and institutions around the world.
17         14.       The ’860 Patent contains thirty-nine claims including four
18   independent claims (claims 1, 23, 26 and 39) and thirty-five dependent claims.
19         15.       The priority date of the ’860 Patent is at least as early January 2,
20   2008. As of the priority date, the inventions as claimed were novel, non-
21   obvious, unconventional, and non-routine.
22         16.       Plaintiff alleges infringement on the part of Defendant of the ’860
23   Patent.
24         17.       The ’860 Patent teaches a system and method for verifying and/or
25   authenticating the identification of an entity associated with an electronic file,
26   such as, for example, the digital signatory thereof. See ’860 Patent, Abstract.
27   the system and method include a module generating assembly structured to
28   receive at least one verification data element, and at least one digital
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 1   identification module structured to be associated with at least one entity. Id.
 2   The digital identification module is capable of being disposed or embedded
 3   within at least one electronic file. Id. Further, the digital identification module
 4   includes at least one primary component structured to at least partially associate
 5   the digital identification module with the entity, and one or more metadata
 6   components. Id.
 7         18.    As noted, the claims of the ’860 Patent have priority date at least as
 8   early as January 2, 2008. The present invention solves problems that existed
 9   with then-existing methods for electronically signing a document. One common
10   then-existing method of electronically signing a document included placing a
11   forward or backward slash prior to and/or following the signatory's typed name.
12   ’860 Patent, 1:26-36. Accordingly, an individual named John Doe might
13   electronically sign a document by placing "/John Doe/" on a signature line that
14   is typically at or near the end of the document. Id. These various electronic
15   signatures or identifiers, however, are rather difficult to authenticate, and as
16   such, it was an arduous, if not impossible task to verify and/or authenticate the
17   identity of the signatory to a respectable degree. Id.
18         19.    The claims of the ’860 Patent overcome deficiencies existing in the
19   art as of the date of invention, and comprise non-conventional approaches that
20   transform the inventions as claimed into substantially more than mere abstract
21   ideas. For example, the inventive system includes a module generating
22   assembly structured to create at least one digital identification module, wherein
23   the digital identification module is structured to be embedded or otherwise
24   disposed within one or more electronic files. Id., 1:65-2:3. Moreover, an entity,
25   such as a signatory of an electronic document, may communicate at least one
26   verification data element to the module generating assembly prior to creating
27   the digital identification module. Id., 2:3-6. The verification data element(s)
28   may include any indicia or data structured to facilitate the verification or
                                               5
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 1   identification of the corresponding entity. Id., 2:6-9. For example, the
 2   verification data element(s) may include a username and/or password, date of
 3   birth, social security number, driver's license number, credit card number, etc.
 4   Id., 2:9-12. In at least one embodiment, the digital identification module
 5   includes at least one primary component and at least one metadata component.
 6   Id., 2:25-37. The primary component may include, for example, a digital
 7   representation of a signature and/or one or more reference codes, numbers, or
 8   characters. Id. The primary component is generally visible or perceptible to a
 9   reader, recipient, or other user of the electronic document. Id. In addition, the
10   metadata components may be representative of the one or more verification data
11   elements, or other data corresponding to the digital identification module and/or
12   entity, including the date and time, location of the entity, etc. Id.
13         20.    The system(s) and methods of the ’860 Patent include software and
14   hardware that do not operate in a conventional manner. For example, the
15   software is tailored to provide functionality to perform recited steps and the
16   hardware is configured (and/or programmed) to provide functionality recited
17   throughout the claims of the ’860 Patent.
18         21.    The ’860 Patent solves problems with the art that are rooted in
19   computer technology and that are associated with electronically signing a
20   document. The ’860 Patent claims do not merely recite the performance of
21   some business practice known from the pre-Internet world along with the
22   requirement to perform it on the Internet.
23         22.    The improvements of the ’860 Patent and the features recited in the
24   claims in the ’860 Patent provide improvements to conventional hardware and
25   software systems and methods.           The improvements render the claimed
26   invention of the ’860 Patent non-generic in view of conventional components.
27         23.    The improvements of the ’860 Patent and the feature recitations in
28   the claims of the ’860 Patent are not those that would be well-understood,
                                                6
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 1   routine, or conventional to one of ordinary skill in the art at the time of the
 2   invention.
 3         24.    The ’860 Patent was examined by Primary United States Patent
 4   Examiner Oscar Louie. During the examination of the ’860 Patent, the United
 5   States Patent Examiner searched for prior art in the following US
 6   Classifications: 726/26; 713/176-180; and 380/59.
 7         25.    After conducting a search for prior art during the examination of
 8   the ’860 Patent, the United States Patent Examiner identified and cited the
 9   following as the most relevant prior art references found during the search: US
10   6,757,826; US 6,895,507; US 6,948,069; US 6,978,369; US 7,047,416; US
11   7,603,621; US 7,844,918; US 2002/0026575; US 2003/0115151; US
12   2003/0217275; US 2005/0050462; US 2005/0160272; US 2006/0173847; US
13   2008/0040693; and US 2008/0082509.
14         26.    After giving full proper credit to the prior art and having conducted
15   a thorough search for all relevant art and having fully considered the most
16   relevant art known at the time, the United States Patent Examiner allowed all of
17   the claims of the ’860 Patent to issue. In so doing, it is presumed that Examiner
18   Louie used his knowledge of the art when examining the claims. K/S Himpp v.
19   Hear-Wear Techs., LLC, 751 F.3d 1362, 1369 (Fed. Cir. 2014). It is further
20   presumed that Examiner Louie had experience in the field of the invention, and
21   that the Examiner properly acted in accordance with a person of ordinary skill.
22   In re Sang Su Lee, 277 F.3d 1338, 1345 (Fed. Cir. 2002). In view of the
23   foregoing, the claims of the ’860 Patent are novel and non-obvious, including
24   over all non-cited art which is merely cumulative with the referenced and cited
25   prior art. Likewise, the claims of the ’860 Patent are novel and non-obvious,
26   including over all non-cited contemporaneous state of the art systems and
27   methods, all of which would have been known to a person of ordinary skill in
28   the art, and which were therefore presumptively also known and considered by
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 1   Examiner Louie.
 2         27.    The claims of the ’860 Patent were all properly issued, and are
 3   valid and enforceable for the respective terms of their statutory life through
 4   expiration, and are enforceable for purposes of seeking damages for past
 5   infringement even post-expiration. See, e.g., Genetics Institute, LLC v. Novartis
 6   Vaccines and Diagnostics, Inc., 655 F.3d 1291, 1299 (Fed. Cir. 2011) (“[A]n
 7   expired patent is not viewed as having ‘never existed.’ Much to the contrary, a
 8   patent does have value beyond its expiration date. For example, an expired
 9   patent may form the basis of an action for past damages subject to the six-year
10   limitation under 35 U.S.C. § 286”) (internal citations omitted).
11         28.    The nominal expiration date for the claims of the ’860 Patent is no
12   earlier than April 7, 2034.
13                                     COUNT ONE
14                (Infringement of United States Patent No. 9,054,860)
15         29.    Plaintiff refers to and incorporates the allegations in Paragraphs 1 –
16   28, the same as if set forth herein.
17         30.    This cause of action arises under the patent laws of the United
18   States and, in particular under 35 U.S.C. §§ 271, et seq.
19         31.    Defendant has knowledge of its infringement of the ’860 Patent, at
20   least as of the service of the present complaint.
21         32.    The ’860 Patent is valid, enforceable, and was duly issued in full
22   compliance with Title 35 of the United States Code.
23         33.    Upon information and belief, Defendant has infringed and
24   continues to infringe one or more claims, including at least Claim 1, of the ’860
25   Patent by manufacturing, using, importing, selling, offering for sale, and/or
26   providing (as identified in the Claim Chart attached hereto as Exhibit B) its
27   product that is a process method for e-signing digital documents safely
28   (“Product(s)”), which infringes at least Claim 1 of the ’860 Patent. Defendant
                                                8
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 1   has infringed and continues to infringe the ’860 patent either directly or through
 2   acts of contributory infringement or inducement in violation of 35 U.S.C. § 271.
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18   Figure 2 – Excerpt from Exhibit B to this Original Complaint.
19         34.    Defendant also has and continues to directly infringe, literally or
20   under the doctrine of equivalents, one or more claims, including at least Claim
21   1, of the’860 Patent, by having its employees internally test and use these
22   exemplary Products.
23         35.    The service of this Complaint, in conjunction with the attached
24   claim chart and references cited, constitutes actual knowledge of infringement
25   as alleged here.
26         36.    Despite such actual knowledge, Defendant continues to make, use,
27   test, sell, offer for sale, market, and/or import into the United States, products
28   that infringe one or more claims, including at least Claim 1, of the ’860 Patent.
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                           ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT.
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 1   On information and belief, Defendant has also continued to sell the exemplary
 2   Products and distribute product literature and website materials inducing end
 3   users and others to use its products in the customary and intended manner that
 4   infringes one or more claims, including at least Claim 1, of the ’860 Patent. See
 5   Exhibit B (extensively referencing these materials to demonstrate how they
 6   direct end users to commit patent infringement).
 7         37.      At least since being served by this Complaint and corresponding
 8   claim chart, Defendant has actively, knowingly, and intentionally continued to
 9   induce infringement of the ’860 Patent, literally or by the doctrine of
10   equivalents, by selling exemplary Products to their customers for use in end-
11   user products in a manner that infringes one or more claims, including at least
12   Claim 1, of the ’860 Patent.
13         38.      Exhibit B includes at least one chart comparing the exemplary
14   claim 1 of the ’860 Patent to Defendant’s exemplary Products. As set forth in
15   this chart, the Defendant’s exemplary Products practice the technology claimed
16   by the ’860 Patent. Accordingly, the Defendant’s exemplary Products
17   incorporated in this chart satisfy all elements of the exemplary claim 1 of the
18   ‘860 Patent.
19         39.      Plaintiff therefore incorporates by reference in its allegations
20   herein the claim chart of Exhibit B.
21         40.      Plaintiff is entitled to recover damages adequate to compensate for
22   Defendant's infringement.
23         41.      Defendant’s actions complained of herein will continue unless
24   Defendant is enjoined by this court.
25         42.      Defendant’s actions complained of herein are causing irreparable
26   harm and monetary damage to Plaintiff and will continue to do so unless and
27   until Defendant is enjoined and restrained by this Court.
28         43.      Plaintiff is in compliance with 35 U.S.C. § 287.
                                                10
                           ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT.
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 1                            DEMAND FOR JURY TRIAL
 2         24.    Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure,
 3   requests a trial by jury of any issues so triable by right.
 4                                PRAYER FOR RELIEF
 5         WHEREFORE, Plaintiff asks the Court to:
 6         (a)   Enter judgment for Plaintiff on this Complaint on all cases of action
 7   asserted herein;
 8         (b)    Enter an Order enjoining Defendant, its agents, officers, servants,
 9   employees, attorneys, and all persons in active concert or participation with
10   Defendant who receives notice of the order from further infringement of United
11   States Patent No. 9,054,860 (or, in the alternative, awarding Plaintiff running
12   royalty from the time judgment going forward);
13         (c) Award Plaintiff damages resulting from Defendant’s infringement in
14   accordance with 35 U.S.C. § 284;
15         (d) Award Plaintiff such further relief to which the Court finds Plaintiff
16   entitled under law or equity.
17

18   Dated: August 18, 2023                   Respectfully submitted,
19
                                              GARTEISER HONEA, PLLC

20                                            /s/ Randall Garteiser
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